Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 1 of 37




                             UNITED STATE DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO.:

 ARIEL ZOMOZA, as parent, natural guardian,
 and next friend, of MANUEL ZOMOZA, a minor child,

        Plaintiff,

 vs.

 UNITED STATES OF AMERICA,

       Defendant.
 _______________________________________/

                                          COMPLAINT

        Plaintiff ARIEL ZOMOZA, as parent, natural guardian, and next friend of MANUEL

 ZOMOZA, a minor child, (“ZOMOZA”), sues Defendant, United States of America and states

 as follows:

                                    GENERAL ALLEGATIONS

       1. This is an action for damages in excess of $75,000.00, exclusive of interest, costs, and

           attorney’s fees.

       2. Plaintiff Zomoza is a citizen of Miami-Dade County, Florida and sui juris.

       3. Defendant UNITED STATES is a governmental body within the meaning of 28

           U.S.C. § 2671, et seq.

       4. This Court has jurisdiction over this action pursuant to the Federal Tort Claims Act,

           (28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(1) (“FTCA”).

       5. The claims alleged herein are brought pursuant to the FTCA and the Florida Medical

           Malpractice Act, Fla. Stat. § 766.201, et seq.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 2 of 37




       6. Venue is proper under 28 U.S.C. §1402(b) in that all, or a substantial part of the acts

          and omissions forming the basis of these claims occurred in the Southern District of

          Florida.

       7. All conditions precedent to the filing of this action have been performed, waived, or

          satisfied.

       8. Zomoza has timely complied with the provisions of 28 U.S.C. §2675 of the Federal

          Tort Claims Act by serving notice of his claim on both the Miami Beach Community

          Health Center and the United States Department of Health and Human Services less

          than two years after the incident forming the basis of this suit. A copy of Standard

          Form 95 is attached as Exhibit 1.

       9. In addition, counsel for Zomoza has made a reasonable investigation as permitted by

          the circumstances and has determined that there are good grounds for a good faith

          belief that there has been negligence in the care and treatment of Manuel Zomoza. A

          Copy of the Notice of Intent Letter is attached hereto as Exhibit 2.

       10. The Plaintiff has complied with Florida Statute 766.104(1) which provides that the

          Complaint or initial pleading shall contain a certificate of counsel which states that

          such reasonable investigation gave rise to a good faith belief that grounds exist for a

          cause of action against the named Defendants. Attached is a Certificate of Counsel

          marked Exhibit 3.

       11. Zomoza is now filing this Complaint pursuant to 28 U.S.C. §2401(b) after receiving

          the Department of Health and Human Services October 24, 2016 notice of “final

          denial of administrative claim.” A copy of the Administrative Tort Claim Denial

          Letter is attached as Exhibit 4.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 3 of 37




       12. At all times relevant hereto, the United States Department of Health & Human

           Services (“Department of Health & Human Services”) was an agency of the United

           States within the meaning of 28 U.S.C. §2671, et seq.

       13. At all times relevant hereto, The United States owned, controlled and operated the

           Miami Beach Community Health Care Center located at 1221 71st Street, Miami

           Beach, Florida 33141 through the Department of Health & Human Services.

       14. Defendant, United States, including its directors, officers, operators, administrators,

           employees, agents, and staff at the Miami Beach Community Health Center are

           hereinafter collectively referred to as “Miami Beach Community Health Center” or

           “MBCHC.”

       15. At all times relevant to this action, The MBCHC held itself out to the Plaintiff and

           eligible beneficiaries, as a provider of high quality health care services, with the

           expertise necessary to maintain the health and safety of patients like the Plaintiff.

       16. At all times material to this action, the directors, officers, operators, administrators,

           employees, agents, and staff of the MBCHC were employed by and/or acting on behalf

           of the United States or its agencies.. Furthermore, the United States is responsible for

           the negligent acts of its employees and agents under the doctrine of respondeat

           superior.

       17. At all times material hereto, Manuel Zomoza was the natural son of Ariel Zomoza.

       18. At all times material hereto, MBCHC was a Florida not for profit corporation,

           authorized and doing business in Miami Beach, Florida.

       19. At all times material hereto, Miami Beach Community Health Center under Section

           330 of the Public Health Service Act, and pursuant to section 224(h) of Public Health
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 4 of 37




          Service Act 42, U.S.C. 233(h) as amended by Federally Supported Health Centers

          Assistance Act of 1995 (Pub. L. 104-73), MBCHC, employed Karen Rosado, M.D.

       20. At all times material hereto, Karen Rosado, M.D. was an officer, director, employee,

          representative, agent and/or borrowed servant of Miami Beach Community Health

          Care Center, who was acting within the natural and/or apparent course and scope of

          her employment and/or agency relationship with MBHCC.

       21. On or about July 29, 2013, Manuel Zomoza was born in good health.

       22. On or about July 15, 2013, Manuel Zomoza’s parents took him to MBHCC for a

          routine well-child exam. MBHCC remained Manuel’s pediatrician throughout 2015.

       23. On or about February 16, 2015, Manuel Zomoza presented to MBHCC with

          complaints of nose and chest congestion, and cough. Manuel was diagnosed by one or

          more of the doctors employed by MBHCC with acute bronchitis and was discharged

          that same day.

       24. On or about February 21, 2015, Manuel Zomoza’s parents took him to the emergency

          room at Joe DiMaggio Children’s Hospital for evaluation of persistent fever. The

          history taken revealed fever onset of 2 days prior to evaluation (2/19). The records

          from Joe DiMaggio Children’s Hospital were sent to MBHCC.

       25. On or about February 22, 2015, Manuel Zomoza’s parents took him to the emergency

          room at Joe DiMaggio Children’s Hospital for evaluation of continued fever. The

          records from Joe DiMaggio Children’s Hospital were sent to MBHCC.

       26. On or about February 24, 2015, Manuel Zomoza’s parents returned with him to

          MBHCC, where they had him evaluated for decreased appetite and continued fever.

          During that visit, Dr. Rosado was made aware that Manuel Zomoza began exhibiting
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 5 of 37




          symptoms of cough and congestion as far back as February 16, 2015, and had a fever

          dating back to February 19, 2015. Manuel Zomoza was discharged that same day.

       27. On or about February 25, 2015, Manuel Zomoza’s parents returned with him to

          Miami Beach Health Care Center where they had him evaluated for a rash. Once

          again, Manuel Zomoza was discharged.

       28. On or about February 28, 2015, Manuel Zomoza’s parents took him to Joe DiMaggio

          Children’s Hospital to be evaluated for a persistent fever. The records from Joe

          DiMaggio Children’s Hospital, including the records from that visit, were sent to

          Miami Beach Health Care Center. A review of the records by the doctors and medical

          personnel at MBHCC would have indicated that Manuel Zomoza had a persistent

          fever and an elevated heart rate.

       29. On or about March 4, 2015, Manuel Zomoza’s parents again took him to MBHCC,

          reporting that he was suffering from persistent fever and an elevated heart rate.

          Manuel was diagnosed with a viral infection.

       30. On or about March 6, 2015, Manuel Zomoza suffered a stroke and was admitted to

          Jackson Memorial Hospital.

       31. On or about March 7, 2015, Manuel Zomoza was diagnosed as having a stroke

          associated with bacterial endocarditis, due to Kingella Kingae.

       32. On or about February 23, 2016, Manuel Zomoza’s father, Ariel Zomoza, placed

          MBHCC on notice of a claim for medical malpractice.

       33. On or about July 7, 2016, MBHCC denied liability for the subject malpractice action.

          A copy of the denial letter dated July 7, 2016 is attached as Exhibit 5.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 6 of 37




       34. On or about September 6, 2016, Ariel Zomoza, on behalf of Manuel Zomoza and

          pursuant to 28.C.R.F. §14.9, filed a Notice of Reconsideration of the July 7, 2016

          denial letter.. A copy of the Reconsideration Letter is attached as Exhibit 6.

       35. On or about October 24, 2016, pursuant to 28 U.S.C. §2041(B), the United States

          issued a letter denying reconsideration of the subject malpractice claim.

                              COUNT 1 – NEGLIGENT HIRING

       36. Plaintiff realleges and reincorporates each and every allegation above as if fully set

          forth herein.

       37. Defendant United States owed a duty to Manuel Zomoza to make an appropriate

          investigation of Dr. Rosado and the employees who treated Manuel Zomoza and failed

          to do so.

       38. An appropriate investigation would have revealed the unsuitability of Dr. Rosado and

          the other employees who treated Manuel Zomoza for the particular duty to be

          performed or for employment in general.

       39. It was unreasonable to hire the employees who treated Manuel Zomoza in light of the

          information they knew or should have known.

       40. The United States breached its duty to Zomoza by negligently hiring incompetent,

          inexperienced, and/or qualified operators, administrators, employees, agents and staff,

          including Dr. Rosado.

       41. As a direct and proximate result of Defendant’s negligent hiring, Manuel Zomoza

          sustained serious and permanent personal injuries in and about his body; he has

          incurred medical expenses, and other damages, and will continue to incur medical

          expenses, and other damages in the future; he was forced to endure pain, suffering, and
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 7 of 37




           mental anguish, and will continue to endure pain, suffering, and mental anguish in the

           future; he has suffered a loss of the enjoyment of life, and will continue to suffer a loss

           of the enjoyment of life in the future.

        WHEREFORE Plaintiff requests this Court enter judgment in his favor, including costs,

 interest, and other relief this Court deems just and proper.

                            COUNT II –NEGLIGENT RETENTION

       42. Plaintiff realleges and reincorporates each and every allegation above as if fully set

           forth herein.

       43. The United States knew or should have known that the employees who treated

           Manuel Zomoza, including Dr. Rosado, were unfit for their position and posed a risk

           of harm to third persons such as Zomoza.

       44. The United States retained the employees who treated Manuel Zomoza, including Dr.

           Rosado, even after they knew or should have known they were unfit.

       45. The unfitness of the employees who treated Manuel Zomoza proximately caused his

           injuries.

       46. As a direct and proximate result of Defendant’s negligent retention of the employees

           who treated Manuel Zomoza, including Dr. Rosado, Manuel Zomoza sustained serious

           and permanent personal injuries in and about his body; he has incurred medical

           expenses, and other damages, and will continue to incur medical expenses, and other

           damages in the future; he was forced to endure pain, suffering, and mental anguish,

           and will continue to endure pain, suffering, and mental anguish in the future; he has

           suffered a loss of the enjoyment of life, and will continue to suffer a loss of the

           enjoyment of life in the future.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 8 of 37




        WHEREFORE Plaintiff requests this Court enter judgment in his favor, including costs,

 interest, and other relief this Court deems just and proper.

           COUNT III—NEGLIGENT TRAINING AND SUPERVISION

       47. Plaintiff realleges and reincorporates each and every allegation above as if fully set

           forth herein.

       48. The United States owed a duty to Manuel Zomoza to exercise reasonable care in

           training and supervising its medical personnel, including Dr. Rosado and the medical

           personnel who treated Manuel Zomoza at the MBHCC.

       49. The United States breached its duty to Manuel Zomoza by failing to adequately train

           or supervise the medical personnel who treated Manuel Zomoza at the MBHCC,

           including Dr. Rosado.

       50. As a direct and proximate result of Defendant’s negligent retention of the employees

           who treated Manuel Zomoza, including Dr. Rosado, Manuel Zomoza sustained serious

           and permanent personal injuries in and about his body; he has incurred medical

           expenses, and other damages, and will continue to incur medical expenses, and other

           damages in the future; he was forced to endure pain, suffering, and mental anguish,

           and will continue to endure pain, suffering, and mental anguish in the future; he has

           suffered a loss of the enjoyment of life, and will continue to suffer a loss of the

           enjoyment of life in the future.

        WHEREFORE Plaintiff requests this Court enter judgment in his favor, including costs,

 interest, and other relief this Court deems just and proper.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 9 of 37




                    COUNT IV – NEGLIGENCE (VICARIOUS LIABILITY)

       51. Plaintiff realleges and reincorporates each and every allegation above as if fully set

           forth herein.

       52. At all times material hereto, MBHCC and its agents and employees, including Dr.

           Rosado, owed a duty to treat Manuel Zomoza in accordance with the accepted and

           prevailing standard of care for Health Care Centers practicing in Dade County, Florida

           and/or any other similar medical community.

       53. Notwithstanding the above described duty, MBHCC and its agents or employees,

           including Dr. Rosado, failed to comply with the minimum standards of care observed

           by community health centers in the community and breeched said duty by committing

           one or more of the following acts of commission, and/or omission:

                a)     Negligently and carelessly failing to properly diagnose and treat Manuel
                        Zomoza;

                b)     Negligently and carelessly failing to order lab tests;

                c)     Negligently and carelessly failing to order cardiac evaluation;

                d)     Negligently and carelessly failing to adequately examine the Plaintiff;

                e)     Negligently and carelessly failing to order and/or administer appropriate
                        tests and/or follow up examinations of such quality that within a
                        reasonable degree of medical probability, would have disclosed the
                        severity and/or true nature of the Plaintiff’s condition;

                f)     Negligently and carelessly failing to provide adequate medical attention;

    54. As a direct, proximate, and foreseeable result of the negligence of MBHCC and its agents

       or employees, including Dr. Rosado, as more fully described herein, Manuel Zomoza was

       caused to suffer the following items of damages:

               a)      Past, present, and future disability, discomfort, disfigurement, inability to
                       lead a normal life, shame, humiliation and scarring;
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 10 of 37




                 b)      Past, present, and future physical and mental pain and suffering;

                 c)      Past, present, and future medical and related expenses;

                 d)      Past, present, and future loss of earnings and earning capacity;

                 e)      Past, present, and future aggravation of a pre-existing condition.

        55. The injuries suffered by Manuel Zomoza are permanent and continuing in their nature,

            and the Plaintiff has suffered in the past and will continue to suffer in the future.

        56. MBHCC is vicariously liable for the negligence of its agents and employees who

            treated Manuel Zomoza, including Dr. Rosado.

         WHEREFORE Plaintiff requests this Court enter judgment in his favor, including costs,

  interest, and other relief this Court deems just and proper.

         DATED this 21st day of December, 2016.

                                                        Respectfully submitted,

                                                        David Pollack, Esq.
                                                        540 Brickell Key Drive, Suite C-1
                                                        Miami, Florida 33131
                                                        Telephone: 305-372-5900
                                                        Facsimile: 305-372-5904
                                                        Email designations:
                                                        david@davidpollacklaw.com
                                                        sean@davidpollacklaw.com
                                                        eric@davidpollacklaw.com


                                                        BY:      /s/David H. Pollack
                                                                 DAVID H. POLLACK, ESQ.
                                                        +        FL BAR #: 955840
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 11 of 37




                            EXHIBIT
                                      1
             Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 12 of 37


rls
                      CLAIM FOR DAMAGE,                                                  INSTRUCTIONS: Please read carefully the instructions on the                    FORM APPROVED
                                                                                         reverse side and supply information requested on both sides of this            OMB NO. 1105-0008
                       INJURY, OR DEATH                                                  form. Use additional sheet(s) if necessary. See reverse side for
                                                                                         additional instructions.
       1. Submit to Appropriate Federal Agency:                                                                  2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                                    (See instructions on reverse). Number, Street. City, State and Zip code

      United States Department of Health and Human Services                                                      Manuel Zomoza by and through his father and natural
      Office of The General Counsel                                                                              guardian Ariel Zomoza
      General Law Division                                                                                       8271 Crespi Blvd., Apt #2
      Claims and Employment Law Branch                                                                           Miami Beach, FL 33141
       3. TYPE OF EMPLOYMENT                             4. DATE OF BIRTH                5. MARITAL STATUS       6. DATE AND DAY OF ACCIDENT                           7. TIME (A.M. OR P.M.)

            D MILITARY         fl CIVILIAN               07/09/2013                      single                  03/04/2015                                            10:00 A.M.
      8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
            the cause thereof. Use additional pages if necessary).


       Please see attached Notice of Intent and Affidavit of Dr, William Bonadio




       9.                                                                                           PROPERTY DAMAGE
       NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State. and Zip Code).


       N/A
       BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
       (See instructions on reverse side).



       N/A
       10.                                                                                PERSONAL INJURY/WRONGFUL DEATH
      STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH. WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
      OF THE INJURED PERSON OR DECEDENT.

       Manuel Zomoza suffered a stroke associated with bacterial endocarditis due to Kingella Kingae. Manuel has undergone
       multiple surgeries and continues to suffer from neurological and developmental deficits. Please see attached medical records



                                                                                                       WITNESSES

                                              NAME                                                                 ADDRESS (Number, Street, City, State, and Zip Code)

                                Ariel Zomoza                                                                 8271 Crespi Blvd., Apt #2 Miami Beach, FL 33141
                               Natalie Crespo                                                                8271 Crespi Blvd., Apt #2 Miami Beach, FL 33141


       12. (See instructions on reverse).                                                    AMOUNT OF CLAIM (in dollars)
      12a, PROPERTY DAMAGE                               12b. PERSONAL INJURY                             12c. WRONGFUL DEATH                       12d. TOTAL (Failure to specify may cause
                                                                                                                                                         forfeiture of your rights).

                                                         f"
      I CE TIFY THAT THE AMOUNT OF CLAIM OVERSbNLY DAMAGES
                                                          f 'T C7() ,
                                                              6
                                                                         ()CO , ()CC                                                               1) ..,T.   t' 1 CO cc°    rr)
                                                            AND INJURI S CAUSED BY THE INCIDENT ABOVE AND AGREE T6 ACCEPT SAID AMOUNT IN
      FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.
                                                     /7 I
      13a. SIGNATURE OF CLAIMANT                      pi nstructions on reverse side).                           13b. PHONE NUMBER OF PERSON SIGNING FORM                  14. DATE OF SIGNATURE

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                                      CIVIL PENALTY FOR PRESENTING                                                               CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                             FRAUDULENT CLAIM
                                                                                                                                          CLAIM OR MAKING FALSE STATEMENTS
      The claimant is liable to the United States Government for a civil penalty of not less than
                                                                                                                 Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
      $5,000 and not more than $10,000, plus 3 times the amount of damages sustai
                                                                                        ned
      by the Government. (See 31 U.S.C. 3729).

      Authorized for Local Reproduction                                                           NSN 7540-00-634-4046                                        STANDARD FORM 95 (REV. 212007)
      Previous Edition is not Usable
                                                                                                                                                              PRESCRIBED BY DEPT, OF JUSTICE
      95-109                                                                                                                                                  28 CFR 14.2
    Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 13 of 37



                                                                                   INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or pro

15. Do you carry accident Insurance?          j Yes If yes give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number.                     No




        r
 a V/
    Have you filed a. claim with your insurance carrier in this instance. and if so, is it full coverage or deductible?    El Yes            N      17. If deductible, state amount.




                s been Ned wit h your carrier. what action has your insurer taken or proposed to take w ith reference to your claim , et is necessary that you ascertain these Facts),




 9. Do you carry public liability and property damage insurance? n Yes If yes give name and address of insurance carrier (Number. Street. City. State. and Zip Code ).




                                                                                        INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                          Complete all Items - Insert the word NONE where applicable.
A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                     DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS CF PROPERTY, PERSONAL.
AGENCY RECEIVES FROM A CLAIMANT. HIS DULY AUTHORIZED AGENT, OR LEGAL                              INJURY. OR DEATH ALLEGED TO HAVE OCCURRED BY REASON CF THE INCIDENT,
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                     THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                     TWQ.Y.gokes AFTER THE CLAIM ACCRUES,
Failure to completely execute this form or to supply the requested material within                 The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                  (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                            written report by tee attending physician, showing the nature and extent of the injury, the
                                                                                                   nature ana extent of treatment, the degree of permanent disability, if any, the prognosis.
                                                                                                   and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, Ire agency listed in item 41 on the reverse      hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Ton Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations, If more than one agency is                 (4) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                                repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                   by reliable. disinterested concerns, or. if payment has been made, the itemized signed
                                                                                                   receipts evidencing payment,
The claim may be Idled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative           (c) In support of claims for damage to property which is not economically repairable. or if
must be presented in the name of the claimant. If the claim is signed by the agent or              the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be        oast of the property, the date of purchase. and the value of the property, both before and
a ccompanied by evidence of hisiher authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                       preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                   tea or more competitive bidders. and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount For
each must be shown In item number 12 of this form.                                                     Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                    arfeiture of your rights.

                                                                                    PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act. 5 U.S.C. 552ale}(3). and               B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached,                 C. Routine Use' See the Notices of Systems of Records for the agency to whom you are
   A. Authority.' The requested information is solicited pursuant to one or more of the               submitting this form for this information.
       following: 5 U.S.C. 301 28 U.S.0 501 et seq., 28 U.S.C. 2671 et seq.. 26 Ca ,R              D. Effect of Failure to Respond' Disclosure is voluntary. However, failure to supply the
        Part 14,                                                                                      req uested information or to execute the form may render your claim invalid,'

                                                                           PAPERWORK REDUCTION ACT NOTICE

This notice is aelely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention' Paperwork Reduction Staff, Civil Div:sion. U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

                                                                                                                                             STANDARD FORM 95 REv (2/2007) BACK
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 14 of 37




                            EXHIBIT
                                      2
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 15 of 37



                                                                                80 S.W. 8th Street, Suite 1710
KAIRE & HEFFERNAN,                                            LLc                   Miami, Florida 33130
                                                                                 Telephone (305) 372-0123
Attorneys at Law                                                                     Fax (305) 374-4348
                                                                                       Mark A. Kaire
                                                                                 E-mail: mark@kairelaw.com
                                                                                      www.kairelaw.com


                                             February 23, 2016


  CERTIFIED MAIL / Return Receipt Requested
  #7009 2250 0003 9056 1997
  Karen Mitchell Rosado Gonzalez
  1221 71st Street
  Miami Beach, FL 33141

          RE: Patient's Name             : Manuel Zomoza
               Father's Name             : Ariel Zomoza
               Patient's DoB:            : 7/9/13
               D/Incident                : 3/4/15
               Patient's SSN             : XXX-XX-XXXX

                       NOTICE OF INTENT TO INITIATE LITIGATION
                             FOR MEDICAL MALPRACTICE

   Dear Dr. Rosado:

   We represent Manuel Zomoza, minor, by and through his father, Ariel Zomoza. They reside at
   8271 Crespi Boulevard, Apt #2, Miami Beach, Florida 33141. We are writing pursuant to
   Florida Statute section 766.106. Please consider this letter a formal notice of Ariel Zomoza's
   intention to initiate litigation for medical malpractice against you on behalf of his son, Manuel
   Zomoza. This claim arises out of the care and treatment received by Manuel Zomoza while a
   patient of yours, which care and treatment resulted in permanent injuries to Manuel Zomoza, as
   well as substantial, emotional and economic damages.

   Please be sure to provide a copy of this letter to all business entities with whom you have
   any legal relationship. Pursuant to Florida law, notice to you for this claim is also notice to
   those entities with which you have a legal relationship. By putting you on notice, we intend
   to fully notify all legal entities with which you have a legal relationship.

   Upon your receipt of this letter, you and your insured are required to conduct a good faith
   investigation to determine liability within ninety (90) days from the date of this letter. Any
   communication or response should be addressed to me.

   Enclosed is a copy of the Verified Medical Opinion signed by William Bonadio, M.D., pursuant
   to Florida Statutes section 766.203. Attached please find the following records reviewed by Dr.
   William Bonadio:
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 16 of 37




         1.   Pediatric records — Dr. Karen Rosado;
         2.   Joe DiMaggio Children's Hospital — Admission — 2/21/15;
         3.   Memorial Hospital - Admission — 2/23/15;
         4.   Memorial Hospital — Admission — 2/28/15;
         5.   Jackson Memorial records & labs.

  Additionally, pursuant to Florida Statutes section 766.106(2)(a), provided below is a list of
  Manuel Zomoza's health care providers during the 2-year period prior to the alleged acts of
  negligence:

         * Dr. Karen Rosado, Pediatrician / PCP.
         * Dr. Richard Zakheim — Cardiologist.

  Manuel Zomoza's health care providers subsequent to alleged acts of negligence:

         * Jackson Memorial Hospital
         * Dr. Dario Lirma (Pediatrician)
         * Dr. Sarah Jernigan (Neuro Surgeon)
         * Dr. Alyssa Pensirikul (Neurologist)
         * Dr. Delia Rivera-Hernandez (Pediatric Infectious Disease / G-Tube)
         * Dr. Satinder Sandhu (Cardiologist)

  Enclosed you will also find an Authorization for Release of Protected Health Information
  pursuant to Florida Statutes section 766.1065.

  It is possible that Ariel Zomoza, does not recall some treating health care providers who
  may have provided treatment during this period to Manuel. If, by reviewing the medical
  records or by other means, you believe Manuel Zomoza may have been treated by others,
  please bring those individuals to my attention and I will be happy to respond to any
  inquiry you make for healthcare providers during this 2 year period. To assist me in
  responding to such an inquiry, please provide me with the source of your belief that the
  provider identified may have provided care to Manuel Zomoza.

  If you would like to take the unsworn statement of any physician who provided treatment to
  Manuel Zomoza, that would be relevant to this matter, please advise me.

  If you carry medical malpractice insurance which provides, or might provide, liability insurance
  coverage for these claims, please direct this letter immediately to your insurance company.
  Please consider this letter a demand, pursuant to Florida Statutes section 627.4137, for a
  statement from your insurance carrier which provides the following information:

          1. The name of each of your insurers, including excess coverage;

         2. The name insured on each policy which does or may provide coverage to you;


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                                      Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 17 of 37




          3. The limits of liability coverage on each policy, including excess coverage;

          4. A Statement of any policy or coverage defenses which such insurer reasonably
             believes is available to such insurer at the time of filing such statement; and

          5. A copy of the policy or policies, including excess coverage.

  Florida Statute §766.106(3)(a) provides that no suit shall be filed for a period of 90 days after
  notice is served upon a prospective defendant. During this 90-day period, you or your insurer are
  to conduct a good faith investigation of this claim employing one of the several procedures
  provided for in the statute.

  I am sure you are well aware that any unreasonable failure to comply with this section justifies
  the dismissal of defenses in the event a subsequent lawsuit is filed.

  Furthermore, please note that should you deny the claim without a reasonable basis, Florida
  Statute Section 766.206 allows for a motion to be filed to determine whether a "denial rests on a
  reasonable basis" and deems the following: "(3) If the court finds that the response mailed by a
  defendant rejecting the claim is not in compliance with the reasonable investigation requirements
  of ss. 766.201-766.212, including a review of the claim and a verified written medical expert
  opinion by an expert witness as defined in s. 766.202, the court shall strike the defendant's
  pleading." Accordingly, should you deny the claim without proper investigation and a
  reasonable basis, such a motion will be prepared.

  The purpose of the 90-day investigatory period is to allow all parties concerned with the matter
  to have an opportunity to determine the validity of claim, fairly assess the extent of damages and
  hopefully, resolve the matter without the necessity of a lawsuit. It is my intent to fully cooperate
  with you and your agents; therefore, I expect reciprocity. In the event you or your representative
  fails to comply with the requirements contained within the statutes, then I will move to strike any
  and all defenses raised in response to a lawsuit, if one is ultimately filed.

   Pursuant to the requirements of Section 766.203, as mentioned-above, I am enclosing a copy of
   the verified Affidavit of William Bonadio, M.D. To the best of my knowledge, William
   Bonadio, M.D., has never been found guilty of fraud or perjury in any jurisdiction.

   The parties receiving a notice of intent concerning this claim is/are:

                                   Karen Mitchell Rosado Gonzalez
                                          1221 71st Street
                                      Miami Beach, FL 33141




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                                        Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 18 of 37




                                          Dr. Michael Weiss
                                          1000 Venetian Way
                                                #114
                                           Miami, FL 33139

                                                   And

                                  Joe DiMaggio Children's Hospital
                                      1005 Joe DiMaggio Drive
                                        Hollywood, FL 33021
                                   South Broward Hospital District
                                         3501 Johnson Street
                                        Hollywood, FL 33021

   In addition to the above, Section 766.106(6), Florida Statutes, provides that:

            "Upon receipt by a prospective defendant of a notice of claim, the parties
            shall make discoverable information available without formal discovery.
            Failure to do so is grounds for dismissal of claims or defenses ultimately asserted."

   Accordingly, I ask that within 20 days, either you or your representative, respond in writing to
   the requests below and forward the following materials:

           1. Please state the name, address, occupation and employer of the person or persons
              investigating this claim and the specific investigative procedure used to evaluate this
              claim as specified in Section 766.106(3)(a), Florida Statutes.

          2. Please forward color laser copies of all original medical records, written notes, x-
             rays, bills, photographs and any other pertinent document or report concerning the
             treatment of Manuel Zomoza. Please understand this request asks you to provide
             copies of every written note or communication you have regarding whether it be
             notes in/on your file jacket, correspondence, telephone notes, or anything of the like.

          3. If any other written document or report concerning your treatment of Manuel Zomoza
             is believed to exist but is not in your possession or control, please describe the
             document or report and provide the present location and custodian of the same.

          4. Copies of any and all rules, regulations, policies, procedures, protocols, and bylaws,
             or other written documentation of any type pertaining to the care and treatment
             provided to Manuel Zomoza which were in effect in 2015, including but not limited
             to care, treatment, and follow-up protocol for patients with persistent fever and
             tachycardia. (An index to these may be provided from which a selection can be
             made).




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                                       Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 19 of 37




        5. Please provide the full names and present addresses of all witnesses to your treatment
           of Manuel Zomoza and all persons having knowledge of such treatment. In addition
           to their names and present addresses, please briefly indicate each individual's interest
           in this matter, i.e., treating nurse, receptionist, eyewitness, etc., and the subject matter
           of their knowledge. Please do not respond by stating: "Please refer to medical
           records" or some similar response. The purpose of this request is to determine if there
           are any individuals that may have knowledge of facts that are material to the issues
           involved in this matter.

        6. Have any of the people named in # 5 ever had their privileges at any hospital
           suspended or revoked, or have they ever been disciplined by any state Board of
           Medicine where an administrative complaint was filed against them? If so, please
           state the name of the complainant(s), the nature of the complaint, place of occurrence
           and assigned case number.

        7. If it is your contention that someone other than employees, agents, or servants were
           responsible in whole or in part for the occurrence of any of the negligence alleged
           above, please state each person's name, address, job title, along with the facts which
           you base your contention that person was responsible. In light of the Supreme
           Court's decision in Fabre, it would be prejudicial to my client for you not to identify
           any third party persons during the pre-suit screening period only to attempt to avoid
           or mitigate your liability during subsequent litigation by alleging or arguing that
           someone other than yourself was wholly or partially responsible. Please understand
           the undersigned will take appropriate action to prevent you from alleging or arguing
           that someone other than yourself was responsible should you fail to promptly and
           fully comply with this request.

        8. Complete copies of all employment contracts, indemnity agreements, co-operation
           agreements and joint defense agreements between you, and any other staff or any
           individual, Professional Association(s), corporation(s), partnership(s), and any other
           entities(ies) relating to, the provision of services rendered to Manuel Zomoza and in
           effect during February 2015.

        9. Taking into consideration everything you know regarding Manuel Zomoza and the
           condition for which you rendered treatment, state whether or not in your opinion any
           adverse outcome alleged by my clients could have been avoided had some step been
           taken by my clients during his course of treatment. Please describe which steps you
           feel could or should have been taken to prevent the outcome.

        10. Taking into consideration everything you know regarding Manuel Zomoza and the
            condition for which you rendered treatment, state whether or not in your opinion any
            adverse outcome alleged by my clients could have been avoided had he not done
            something that he in fact, did. Please describe what you feel my clients did that
            contributed to his injuries.



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                                      Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 20 of 37




        11. Please state the name and address of your medical malpractice insurance carrier, as
            well as the type and amount of coverage available to you as protection against this
            claim. Please provide a copy of your group's insurance policy or policies. If
            insurance coverage is not available, please explain the methods of compliance with
            Florida Financial Responsibility Statute Section 458.320 that will protect you against
            loss of your Florida medical license.

        12. Do you claim sovereign immunity? If so, please describe in detail the basis for your
            claim that you are entitled to sovereign immunity.

        13. If you believe this claim is not meritorious or, if you feel the case may have merit
            against others but you should not be a defendant, or if you know facts that exculpate
            you, please explain. We expect you to fully explain the basis of any defense you
            intend to raise should this claim result in litigation. Please give facts, not conclusions
            that your care was acceptable.

        14. Please provide a copy your Curriculum Vitae.

        15. Please provide a copy of the schedule for each and every day in which you saw and
            treated Manuel Zomoza. This request should include a copy of your entire
            schedule/appointments for each day you saw Manuel Zomoza. You may delete the
            names of any other patients reflected on the schedule, but please do not delete any
            other information, specifically, the dates and times of each appointment and the
            services rendered.

        16. With respect to your fees for services rendered to Manuel Zomoza, please:

               a.      State the total amount of your services

               b.       State the amount you were paid;

               c.      Provide an itemized statement of your charges;

               d.      Identify if there are any amounts of charges under dispute or under appeal;

               e.       Identify the person or entity that paid the bill for your services;

                f.      Provide a copy of any contract or agreement that was in force between you
                        and the person or entity that paid the bill for your services;

                g.      Provide copies of all letters, appeals, telephone memos or other means of
                        communication between you, and the person or entity that paid the bill for
                        your services to.




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                                     Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 21 of 37




         17. Do you contend that William Bonadio, M.D. does not meet the criteria of
             §766.102(5), Florida Statutes? If so, please state in detail every fact upon which you
             base that contention.

         18. Please indicate whether any person or entity is, or may be vicariously liable for your
             negligence, if the allegations of negligence as set forth in the enclosed Affidavit(s) are
             proven.

         19. Do you contend that the actions or omissions of any person or entity caused or
             contributed to the injuries of Manuel Zomoza? If so, state the full name and address
             of each such person or entity, the legal basis for your contention, the facts or evidence
             upon which your contention is based, and whether or not you have notified such
             person or entity of your contention.

        20. Do you contend that any person or entity is or may be liable in whole or in part to you
            for damages resulting from the injuries of Manuel Zomoza? If so, state the full name
            and address of each such person or entity, the legal basis for the contention, the facts
            or evidence upon which the contention is based, and whether or not you have notified
            each such person or entity of the contention.

        21. List the name, address, and telephone number and last known employer of all persons
            who are believed or known by you to have any knowledge concerning the care and
            treatment received by Manuel Zomoza while your patient, during February 28, 2015
            and specify the subject matter about which the witness has knowledge.

        22. Do you know of any statement or remark made by Manuel Zomoza's parents
            concerning his medical care? If so, state the name, address, telephone number and
            last known employer of each person who heard the statement(s) and the date, time,
            place and precisely what was said in each statement.

        23. Please advise whether or not you reported any incident involving the care of Manuel
            Zomoza pursuant to the requirements of Section 395.0197(6), Florida Statutes.

        24. Please provide a copy of any and all reports and labs requested regarding Manuel
            Zomoza.

        25. Please state the name and address of any entities, or persons with whom you had a
            legal relationship regarding the practice of medicine during the period of time you
            treated Manuel Zomoza. Please include in your response the name and address of
            any medical group whom you allowed to practice at the time relevant to this claim.
            Please provide copies of any contracts or agreements between you and these entities.




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                                      Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 22 of 37




  Please pay particular attention to requests 19 and 20. We are relying upon your responses to
  determine whether to place any other health care provider on notice of this claim.

  Please understand that, except as to health care providers and other individuals or entities
  disclosed in response to requests 19 and 20, we intend to ask the Court, should it be necessary to
  proceed with the filing of a lawsuit, to prohibit any argument and the introduction of any
  evidence regarding the negligence or fault of others.

  You are required to cooperate with us in good faith during the pre-suit screening period. The
  failure to fully and completely respond to requests 19 and 20 violates the good faith requirement
  of the law and will justify dismissal of your defenses if it becomes necessary to file a civil action.

  Please direct any further inquiries with regards to this        to my attention.




  MAK/tc

  cc:     Insurance Commissioner
          State of Florida
          The Capitol
          Tallahassee, FL 323
          Certified Mail / Return Receipt Requested
          #7009 2250 0003 9056 1980




                KAIRE & HEFFERNAN,                                                LLc
                                       Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 23 of 37




                            EXHIBIT
                                      3
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 24 of 37




                                UNITED STATE DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                         CASE NO.:

    MANUEL ZOMOZA, minor, by and through
    ARIEL ZOMOZA, as parent, natural guardian,
    and next friend,

           Plaintiff,

    vs.

    UNITED STATES OF AMERICA,

           Defendant.



                                    CERTIFICATE OF COUNSEL

    STATE OF FLORIDA
                        ) SS:
    COUNTY OF MIAMI-DADE)


           BEFORE ME the undersigned authority, personally appeared, MARK A. KAIRE, whose
    name is subscribed to the within instrument, and he acknowledges that he executed same and
    who states that a reasonable investigation gave rise to good faith belief that grounds exist for a
    cause of action against the named Defendant in this matter.



                                                                        MARK A. KAIRE

           SWORN TO AND SUBSCRIBED this2 1day Opecemb                                           16.


                                                                       NOTARY P     , STA P: OF FLORIDA
                                                                                            ;




                                                                       My Commission Expires.
           Personally known

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Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 25 of 37




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                Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 26 of 37
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                   es.

                                   DEPARTMENT OF HEALTH & HUMAN SERVICES
 i                164;
                                                                           Office of The General Counsel
     \                         General                  Law             Division
          .va                                                              Claims and Employment Law Branch
                                                                           330 C Street, SW
                                                                           Switzer Building, Suite 2600
                                                                           Washington, DC 20201

                                                                OCT 2 4 2016


                   CERTIFIED-RETURN
                   RECEIPT REQUESTED
                   Mark A. Kaire, Esq.
                   Kaire & Heffernan, LLC
                   999 Brickell Avenue, PH1102
                   Miami, FL 33131

                             Re:     Administrative Tort Claim of Arid Zomoza, as Father and Natural
                                     Guardian of M. Z., a Minor
                                     Claim No. 2016-0290

                   Dear Mr. Kaire:

                   On March 10, 2016, you presented an administrative tort claim under the Federal Tort Claims
                   Act, 28 U.S.C. §§ 1346(b), 2401(b), 2671-80, on behalf of your client, Ariel Zomoza, as father
                   and natural guardian of M. Z., a minor. The administrative tort claim alleged that, on March 4,
                   2015, Dr. Karen Rosado and Miami Beach Community Health Center, in Miami, Florida,
                   rendered negligent medical care and treatment to M. Z., resulting in M. Z. suffering a stroke, on
                   March 6, 2015, secondary to mitral valve bacterial endocarditis. By letter dated July 7, 2016,
                   your client's administrative tort claim was denied, and you were notified of the right to request
                   reconsideration within six months from the date of mailing of the denial letter. On September 7,
                   2016, this agency received your client's request for reconsideration. The agency now responds
                   to your client's request for reconsideration with regard to this administrative tort claim.

                   The Federal Tort Claims Act authorizes the settlement of any claim of money damages against
                   the United States for, inter alia, injury caused by the negligent or wrongful act or omission of any
                   employee of the Federal government while acting within the scope of employment under
                   circumstances where the United States, if a private person, would be liable to the claimant in
                   accordance with the law of the place where the act or omission occurred. This letter constitutes
                   the notice of final determination on this claim, as required by 28 U.S.C. § 2401(b) (1994).

                   Your client's claim was initially denied because the evidence failed to establish that any of your
                   client's alleged injuries were due to the negligent or wrongful act or omission of a federal
                   employee acting within the scope of employment. We have again reviewed your client's claim,
                   and determined that the initial decision denying your client's claim was correct. Accordingly,
                   the administrative tort claim of Ariel Zomoza, as father and natural guardian of M.Z., is denied.
                   If you are dissatisfied with this determination, you are entitled to file suit against the United
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 27 of 37
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 28 of 37

  Mark A. Kaire, Esq.
  Administrative Tort Claim of Ariel Zomoza, as Father and Natural Guardian of M. Z., a Minor
  Page 2

  States in the appropriate federal district court within six (6) months from the date of mailing of
  this determination (28 U.S.C. § 2401(b)).


                                                Sincerely,

                                                 u,d1kA‘v. A S.rcf,l) 6,3icc,)
                                                William A. Biglow
                                                Deputy Associate General Counsel
                                                Claims and Employment Law Branch
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 29 of 37




                            EXHIBIT
                                      5
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 30 of 37


          DEPARTMENT OF HEALTH & HUMAN SERVICES
                                                            Office of the General Counsel/General Law Division
                                                                                                  Claims Office
                                                                                             330 C Street, S.W.
                                                                                   Switzer Building, Suite 2600
                                                                                       Washington, D.C. 20201
                                                                                            Ph: (202) 691-2369
                                                                                           Fax: (202) 691-2035


                                            July 7, 2016

 U. S. CERTIFIED MAIL—RETURN RECEIPT REQUESTED
 (Article No. 7006 0100 0002 1488 8564)

 Mark A. Kaire, Esq.
 Kaire & Heffernan, LLC
 Attorneys at Law
 80 SW. 8th Street, Suite 1710
 Miami, Florida 33130

 Re: Administrative Tort Claim of Ariel Zomoza, as Father and Natural Guardian
     of M. Zomoza, a Minor, Claim No. 2016-0290

 Dear Mr. Kaire:

 On March 10, 2015, you filed an administrative tort claim under the Federal Tort Claims Act
 ("FTCA"), 28 U.S.C. §§1346(b), 2401(b), 2671-80, on behalf of your client, Ariel Zomoza, as
 father and natural guardian of M. Zomoza, a minor, alleging, inter alia, that, on March 4, 2016,
 Dr. Karen Rosado and Miami Beach Community Health Center, located in Miami, Florida,
 committed medical malpractice by failing to order lab tests, conduct a cardiac evaluation,
 diagnose and treat M. Zomoza for bacterial endocarditis which would have prevented M.
 Zomoza from having a stroke.

 The FTCA authorizes the settlement of any claim of money damages against the United States
 for, inter alia, injury or death caused by the negligent or wrongful act or omission of any
 employee of the federal government, while acting within the scope of employment. Under the
 FTCA , said act or omission must be such that the United States, if a private person, would be
 liable to the claimant in accordance with the law of the place where the act or omission occurred.
 28 U.S.C. § 2672.

 This letter constitutes the notice of final determination of this administrative tort claim, as
 required by 28 U.S.C. §§ 2401(b), 2675(a). The administrative tort claim of Ariel Zomoza, as
 father and natural guardian of M. Zomoza, a minor, is denied. The evidence fails to establish that
 the alleged injuries were due to the negligent or wrongful act or omission of a federal employee
 acting within the scope of employment.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 31 of 37
  le►




 Page 2- Mark A. Kaire, Esq.

 If your client is dissatisfied with this determination, he may:

                 1.     file a written request with the Agency for reconsideration of the final
                        determination denying the claim within six (6) months from the date of
                        mailing of this determination (28 C.F.R. § 14.9); or

                 2.      file suit against the United States in the appropriate federal district court
                         within six (6) months from the date of mailing of this determination (28
                         U.S.C. § 2401(b)).

 In the event your client requests reconsideration, the Agency will review the administrative tort
 claim within six (6) months from the date the request is received. If the reconsidered
 administrative tort claim is denied, he may file suit within six (6) months from the date of
 mailing of the final determination.

                                                         Sincerely yours,



                                                            m/U4'iA411
                                                         William A. Biglow
                                                         Deputy Associate General Counsel
                                                         Claims and Employment Law Branch
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 32 of 37




                            EXHIBIT
                                      6
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 33 of 37



                                                                             999 Brickell Avenue, PH 1102
KAIRE & HEFFERNAN, u_c                                                           Miami, Florida 33131
                                                                              Telephone (305) 372-0123
Attorneys at Law                                                                 Fax (305) 377-4222
                                                                                    Mark A. Kaire
                                                                              E-mail: mark@kairelaw.com
                                                                                  wwvv.kairelaw.com
                                               September 6, 2016


  CERTIFIED MAIL Return Receipt Requested
  #7009 2250 0003 9056 3229
  William Biglow
  Deputy Associate General Counsel
  Dept of Health & Human Services
  330 C. Street S.W.
  Switzer Building — Suite 2600
  Washington, DC 20201

         RE: Ariel Zomoza, as Father and Natural Guardian of Manuel Zomoza, a minor
               Claim No.: 2016-0290

  Dear Mr. Biglow:

  This letter serves to acknowledge receipt of your correspondence date July 7, 2016, advising that
  the claim of Manuel Zomoza, a minor, was denied, and "that the evidence presented failed to
  establish that the injuries were due to the negligent or wrongful act or omission of a Federal
  Employee acting within the scope of employment."

  Please accept this correspondence as our Notice for Reconsideration:

  Pursuant to 28 C.F.R. §14.9, Ariel Zomoza, as father and natural guardian of Manuel Zomoza, a
  minor, hereby request that the Department of Health and Human Services reconsider its July 7,
  2016 final determination denying the claim submitted February 29, 2016 that the treatment
  rendered by Karen Rosado, M .D., at Miami Beach Health Center, Inc., fell below the standard
  of care and as a result thereof, Manuel Zomoza sustained a permanent injury.

  For your review and consideration I am enclosing the following documentation:

         -   Standard Form 95 (previously submitted February 29, 2016);

             Affidavit of Dr. William Bonadio (previously submitted February 29, 2016);

         -   Dept of Health and Human Services letter denying the claim dated July 7, 2016.

             Life Care Plan dated 8/9/16;

         - CDC Report on Kingella Kingae.
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 34 of 37
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 35 of 37




  In its July 7, 2016 letter dying Manuel Zomoza's claim, the Dept of Health and Human Services
  simply stated that the administrative tort claim of Ariel Zomoza, as father and natural guardian of
  M. Zomoza, a minor, is denied. The evidence fails to establish that the alleged injuries were due
  to the negligent or wrongful act or omission of a Federal Employee acting within the scope of
  employment. The denial letter did not substantiate the reasons for the denial. It is respectfully
  submitted that the determination is wrong and that the Department of Health and Human
  Services should reconsider its denial.

  FACTS

  Manuel Zomoza was born July 9, 2013 and was in good health. Manuel's pediatrician was Dr.
  Karen Rosado.

  Manuel's first visit to Dr. Rosado was July 15, 2013 (6 days old) for a well-child exam. Dr.
  Rosado remained Manuel's pediatrician through 2015.

  On February 16, 2015 Manuel presented to Dr. Rosado's office with complaints of nose and
  chest congestion, and cough. Manuel was diagnosed with acute bronchiolitis and was
  discharged.

  On February 21, 2015, Manuel's parents took him to the emergency room at Joe DiMaggio
  Children's Hospital for evaluation of persistent fever. The history taken revealed fever onset of
  2 days prior to evaluation (2/19). The records from Joe DiMaggio Children's Hospital were sent
  to Dr. Rosado as Manuel's primary healthcare physician.

  On February 22, 2015, Manuel's parents took him to the emergency room at Joe DiMaggio
  Children's Hospital for evaluation of continued fever. The records from Joe DiMaggio
  Children's Hospital were sent to Dr. Rosado as Manuel's primary healthcare physician.

  On February 24, 2015, Manuel's parents took him to Dr. Rosado's office for evaluation of
  decreased appetite and continued fever. On said visit Dr. Rosado was aware that Manuel began
  exhibiting symptoms as far back as February 16, 2015 and had fever dating back to February 19,
  2015.

  On February 25, 2015 Manuel's parents again took him back to Dr. Rosado's office for
  evaluation of a rash.

  On February 28, 2015 Manuel's parents took him to Joe DiMaggio Children's Hospital for
  evaluation of persistent fever. The records from Joe DiMaggio Children's Hospital were sent to
  Dr. Rosado as Manuel's primary healthcare physician. A review of the records would have
  indicated that Manuel had a persistent fever and an elevated heart rate.

  On March 4, 2015 Manuel's parents again took him to Dr. Rosado's office for persistent fever
  and an elevated heart rate. Manuel was diagnosed with a viral infection.

  On March 6, 2015 Manuel suffered a stroke and he was admitted to Jackson Memorial Hospital.



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                                       Attorneys at Law
Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 36 of 37




  On March 7, 2015 Manuel Zomoza was diagnosed as having a stroke associated with bacterial
  endocarditis, due to Kingella Kingae.


  STANDARD OF CARE

  The Standard of Care as per the Affidavit of Dr. William Bonadio, Board Certified Pediatrician,
  is:

         Based on Manuel Zomoza's continued fever of [at least] 11 days duration [and
         possibly longer] and persistent tachycardia should have prompted ordering lab
         tests to further investigate the cause of fever; specifically, but not limited to, CBC,
         blood culture, and inflammatory markers [ESR and CRP] to determine if there
         was evidence of a bacterial infection. In addition, the possibility of bacterial
         endocarditis warranted cardiology consultation and performance of an
         echocardiogram. This expanded differential was appropriate to consider because
         typically it is inconsistent for a child with uncomplicated viral infection to exhibit
         ongoing daily fever for more than 5 days, persistent fever beyond this interval,
         especially when associated with abnormal vital signs, can be indicative of a
         serious underlying process."


  CAUSATION

  It is likewise the opinion of Dr. Bonadio that had Dr. Rosado ordered labs on March 4, 2015, the
  results would more likely than not have indicated the risk for bacterial infection, and an
  echocardiogram performed at that time would have shown evidence of bacterial endocarditis
  which would have prompted further evaluation and treatment, thus preventing the stroke which
  Manuel Zomoza experienced two days later. Further, the CDC had warned medical providers of
  the rise in Kingella Kingae bacteria in children who attend daycare. Manuel was in daycare.


  CONCLUSION

  Manuel Zomoza presented to the office or Dr. Rosado in Miami Beach Health Center over a
  period extending 16 days. In addition thereto, Manuel was evaluated and treated at Joe
  DiMaggio Children's Hospital and records were forwarded to Manuel's pediatrician, Dr. Karen
  Rosado. The Standard of Care requires that after seven (7) days a medical provider draw labs
  and further investigate a child's fever. Dr. Rosado failed to draw labs despite the persistent fever
  and elevated heart rate.

  Had Dr. Rosado drawn labs, the results would have indicated a bacterial infection and a
  diagnosis of bacterial endocarditis would have been made and prevented the stroke that Manuel
  sustained March 6, 2015.




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Case 1:16-cv-25293-JAL Document 1 Entered on FLSD Docket 12/21/2016 Page 37 of 37




  For your further review and consideration I am enclosing Manuel's Life Care Plan that sets forth
  the medical care and treatment that Manuel will require as a result of Dr. Rosado's departure
  from the standard of care.

  Please thoughtfully accept this correspondence as our request for reconsideration.


  Thank you for your anticipated help and cooperation in this matter, and if you have any
  questions please do not hesitate to contact me.

                                               Very trul     urs,




  MAK/tc

  cc:    U.S. Dept. of Health & H an Services — Claims
         Sent via fax: 202-691-2035
         Sent via fax: 202-619-2922




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                                      Attorneys at Law
